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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

                                                 §
LOUISE M. HARVEY,                                §
                                                 §
               Plaintiff,                        §
        vs.                                      §
                                                 § CAUSE NO. 2:17-cv-12151
BLUESTEM BRANDS, INC., d/b/a                     §
FINGERHUT; FIRST CONTACT,                        §
LLC; ALLIANCEONE                                 §
RECEIVABLES MANAGEMENT,                          § DEMAND FOR JURY TRIAL
INC.; and DOES 1 – 100,                          §
                                                 §
                                                 §
               Defendant(s).                     §
                                                 §

      PLAINTIFF’S COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

       For this Complaint, Plaintiff Louise M. Harvey (“Plaintiff”), by and through the

undersigned counsel, pleads as follows:

                                       INTRODUCTION

   1. This action arises out of Defendants’ continuous harassment of Plaintiff via invasive and

       disruptive telephone calls to Plaintiff’s cellular telephone that Defendants placed to collect

       an alleged debt in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227,

       et seq. (“TCPA”).

   2. As quoted by the United States Supreme Court, Senator Fritz Hollings, the sponsor of the

       TCPA, stated on the floor of the United States Senate:

              “Computerized calls are the scourge of modern civilization. They wake us
              up in the morning; they interrupt our dinner at night; they force the sick and
              elderly out of bed; they hound us until we want to rip the telephone right
              out of the wall.” Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 384, 132
              S. Ct. 740, 752 (2012).


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  3. Defendant Bluestem Brands, Inc. d/b/a Fingerhut (“Bluestem”) owns and operates 16 e-

     commerce retail brands, including Fingerhut.           Bluestem engaged the services of

     Defendants First Contact, LLC d/b/a iQor (“First Contact”) and Defendant AllianceOne

     Receivables Management, Inc. (“AOI”) (all collectively referred to herein as

     “Defendants”) to place telephone calls to Plaintiff.

  4. After suffering from a non-stop bombardment of calls, Plaintiff revoked consent to be

     called on her cellular telephone.       Completely disregarding Plaintiff’s demand for

     Defendants to stop calling, Defendants proceeded to place a combined total of no less than

     270 calls to Plaintiff’s cellular phone over a period of approximately three and one half

     months. Defendants would call Plaintiff multiple times a day in furtherance of their

     harassing debt collection efforts.

  5. Defendants acted in concert to carry out the harassment. Defendants’ unlawful conduct

     was part of a business plan and practice of unlawful collection abuse, including repeated

     and intrusive telephone calls and the failure to cease calling after having been instructed to

     stop.

  6. Plaintiff brings this action for redress as provided for by the TCPA.

                              JURISDICTION AND VENUE

  7. Subject matter jurisdiction of this court arises pursuant to 28 U.S.C. § 1331 and the TCPA.

  8. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the Defendants

     transact business in this District and a substantial portion of the acts giving rise to this

     action occurred in this District.

                                          PARTIES




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   9. Plaintiff Louise M. Harvey is an adult individual, and is a “Person” as defined by 47 U.S.C.

      § 153(39).

   10. Defendant Bluestem Brands, Inc. d/b/a Fingerhut (“Bluestem”) is a Delaware corporation

      with its principal place of business located at 7075 Flying Cloud Drive, Eden Prairie, MN

      55344.

   11. Defendant First Contact, LLC (“First Contact”) is a Minnesota limited liability company

      with its principal place of business located at 200 Central Avenue, 7th Floor, St. Petersburg,

      FL 33701. First Contact is a wholly owned subsidiary of iQor US, Inc. and an affiliate of

      Allied Interstate, LLC. The principal purpose of Allied Interstate, LLC is the collection of

      debts and it regularly attempts to collect debts alleged to be due to another.

   12. AllianceOne Receivable Management, Inc. (“AOI”) is a Delaware Corporation with its

      principal place of business located at 4850 E. Street Road, Suite 300, Trevose, PA 19053.

      The principal purpose of AOI is the collection of debts and it regularly attempts to collect

      debts alleged to be due to another.

   13. Does 1 – 100 are parties whose identities are not presently known to Plaintiff but may have

      worked in concert with or as agents for one or more of the Defendants in making unlawful

      calls to Plaintiff.

                                FACTUAL ALLEGATIONS

The Telephone Consumer Protection Act, 47 U.S.C. § 227

   14. In 1991, the TCPA was passed by the United States Congress and signed into law by

      President George H. W. Bush.

   15. The TCPA defines an “automatic telephone dialing system” (“ATDS”) as “equipment

      which has the capacity (A) to store or produce telephone numbers to be called, using a


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     random or sequential number generator; and (B) to dial such numbers.” 47 U.S.C. §

     227(a)(1).

  16. The TCPA makes it unlawful:

         “(A) to make any call (other than a call made for emergency purposes or made
         with the prior express consent of the called party) using any automatic
         telephone dialing system or an artificial or prerecorded voice-
         ***

             “(iii) to any telephone number assigned to a paging service, cellular
             telephone service, specialized mobile radio service, or other radio common
             carrier service, or any service for which the called party is charged for the
             call[.]”

     47 U.S.C. § 227(b)(1)(A)(iii).

  17. A person may bring an action to enjoin a violation of 47 U.S.C. § 227(b)(1)(A)(iii).

     Id. at § 227(b)(3).

  18. A person may bring an action to recover the greater of actual damages or $500.00

     for a violation of 47 U.S.C. § 227(b)(1)(A)(iii). Id.

  19. A court may award treble damages against a Defendant for a willful or knowing

     violation of 47 U.S.C. § 227(b)(1)(A)(iii). Id.

  20. The TCPA directs the Federal Communications Commission (“FCC”) to prescribe

     regulations implementing restrictions on the use of autodialers. 47 U.S.C. §

     227(b)(2).

  21. In its Declaratory Ruling released on July 3, 2003, the FCC stated:

             “The record demonstrates that a predictive dialer is equipment that
             dials numbers and, when certain computer software is attached, also
             assists telemarketers in predicting when a sales agent will be
             available to take calls. The hardware, when paired with certain
             software, has the capacity to store or produce numbers and dial those
             numbers at random, in sequential order, or from a database of
             numbers…the Commission finds that a predictive dialer falls within
             the meaning and statutory definition of an ‘automatic telephone

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              dialing equipment’ and the intent of Congress.” In the Matter of
              Rules and Regulations Implementing the Telephone Consumer
              Protection Act of 1991, 18 FCC Rcd 14014, ¶131-133 (2003) (“2003
              TCPA Order”).

   22. In its Declaratory Ruling released on January 4, 2008, the FCC stated:

              “In this Declaratory Ruling, we affirm that a predictive dialer
              constitutes an automatic telephone dialing system and is subject to
              the TCPA's restrictions on the use of autodialers.” In the Matter of
              Rules and Regulations Implementing the Telephone Consumer
              Protection Act of 1991, CG Dkt. No. 92–90, 23 FCC Rcd. 559, 566
              (2008).

   23. In its Declaratory Ruling released on November 29, 2012, the FCC stated:

              “Under the TCPA, the term ‘automatic telephone dialing system’ or
              ‘autodialer’ is defined as ‘equipment which has the capacity -- (A)
              to store or produce telephone numbers to be called, using a random
              or sequential number generator; and (B) to dial such numbers.’ [47
              U.S.C.] § 227(a)(1). The Commission has emphasized that this
              definition covers any equipment that has the specified capacity to
              generate numbers and dial them without human intervention
              regardless of whether the numbers called are randomly or
              sequentially generated or come from calling lists.” In the Matter of
              Rules & Regulations Implementing the Tel. Consumer Prot. Act of
              1991, Declaratory Ruling, 27 F.C.C. Rcd. 15391, 15392 n.5 (2012)
              (Citing 2003 TCPA Order, 18 FCC Rcd at 14092, para. 133).

   24. In its Declaratory Ruling and Order of July 10, 2015, the FCC stated,

              “[T]he Commission has also long held that the basic functions of an
              autodialer are to ‘dial numbers without human intervention’ and to
              ‘dial thousands of numbers in a short period of time.’ How the
              human intervention element applies to a particular piece of
              equipment is specific to each individual piece of equipment, based
              on how the equipment functions and depends on human
              intervention, and is therefore a case-by-case determination.” In the
              Matter of Rules & Regulations Implementing the Tel. Consumer
              Prot. Act of 1991, 30 FCC Rcd. 7975 (2015). (Citing 2003 TCPA
              Order, 18 FCC Rcd at 14092, para. 132-33; see also ACA
              Declaratory Ruling, 23 FCC Rcd at 566, para. 13; SoundBite
              Declaratory Ruling, 27 FCC Rcd at 15392, para. 2 n.5.).

Defendants’ autodialer systems.


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  25. First Contact and its affiliate, Allied Interstate, LLC, use a proprietary predictive dialer

     software system called “aQrate” in connection with calls that are placed to consumers.

  26. First Contact’s affiliate, iQor Technologies, Inc., owns the trademark “aQrate,” U.S. Serial

     Number 8531104. Attached hereto as Exhibit 1 are true and accurate copies of the

     Trademark/Service Mark Statement of Use submitted to the United State Patent and

     Trademark Office by iQor Technologies, Inc. in connection with it trademark application.

     The functionality includes:




  27. Other Courts have found that, “This technology is precisely that contemplated by the FCC

     in the 2003 and 2008 Orders, a predictive dialer which ‘calls them at a rate to ensure that

     when a consumer answers the phone, a sales person is available to take the call,’ which

     was determined by the FCC to be an ATDS. Accordingly, under both FCC Orders

     Defendant's system is an ATDS and the calls in question violated the TCPA.” Morse v.

     Allied Interstate, LLC, 65 F. Supp. 3d 407 at Pg. 8-9 (M.D. Pa. 2014) (Internal citations

     omitted).

  28. The State of Texas has implemented laws that require the registration and permitting of

     dialer systems. Texas Utility Code § 55.130(a).

  29. Texas Utility Code § 55.121 defines an “automatic dial announcing device” (“ADAD”) as,

     “automated equipment used for telephone solicitation or collection that can:

             “(A) store telephone numbers to be called or produce numbers to be called
             through use of a random or sequential number generator; and

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              “(B) convey, alone or in conjunction with other equipment, a prerecorded
              or synthesized voice message to the number called without the use of a live
              operator.”

   30. At all times material, the dialer system used by First Contact in connection with its

       communications with Plaintiff was registered under the name of its affiliate, Allied

       Interstate, LLC, as an ADAD with the Public Utilities Commission of Texas (“PUCT”).

       Attached hereto as Exhibit 2 are true and accurate copies of ADAD Registrations

       submitted to the PUCT by First Contact’s affiliate from 2014 through 2016.

   31. At all times material, the dialer system used by AOI in connection with its communications

       with Plaintiff was registered as an ADAD with the Public Utilities Commission of Texas.

       Attached hereto as Exhibit 3 are true and accurate copies of ADAD Registrations

       submitted to the PUCT by AOI from 2014 through 2016.

TCPA class action involving Defendants.

   32. On September 11, 2013, Timothy Haight filed a Complaint, captioned Timothy Haight v.

       Bluestem Brands, Inc., 6:13-cv-1400-ORL-28KRS (the “Class Action”). Haight asserted

       the claim, on behalf of himself and a similarly situated class of individuals, that Defendant

       Bluestem violated the TCPA.

   33. A settlement was reached and approved in the Class Action, with the Final Approval Order

       being entered on June 13, 2016 in the Circuit Court of Cook County, Illinois. As part of

       the settlement, Haight, on behalf of himself and the class members, released all of the

       Defendants named in this action of liability for their alleged violations of the TCPA.

   34. Plaintiff herein opted out of the Class Action settlement.

Defendants’ unlawful harassment of Plaintiff.




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  35. Bluestem engaged First Contact and AOI to call Plaintiff in an effort to collect an alleged

     debt.

  36. First Contact and AOI were each agents of Bluestem for purposes of calling Plaintiff.

  37. Within the four years prior to the filing of this Complaint, Defendant placed telephone calls

     to Plaintiff’s cellular telephone number, (586) XXX-3107.

  38. At all times material, Defendants called Plaintiff’s cellular telephone using an artificial or

     prerecorded voice and/or an ATDS.

  39. During their communications with Plaintiff, representatives of First Contact and AOI

     concealed their true identity and represented to Plaintiff that Plaintiff was communicating

     with “Fingerhut.”

  40. After receiving approximately 115 calls on Plaintiff’s cellular telephone between July 6,

     2015 and August 3, 2015, Plaintiff called Bluestem’s phone number and instructed

     Bluestem’s representative to, “stop calling my number!”

  41. Defendants bombarded Plaintiff’s cellular telephone with calls approximately 315 more

     times over a three-and-a-half-month period after Plaintiff provided the instruction to, “stop

     calling my number!”

  42. Defendants continued to call Plaintiff’s cellular telephone until Plaintiff threatened to take

     legal action on November 20, 2015.

  43. Attached hereto as Exhibit 4 is a summary of the calls that Defendants placed to Plaintiff.

     The following telephone numbers appeared on the caller ID on Plaintiff’s cellular phone

     when Defendants called: 866-836-8987, 800-503-2370, 844-240-9758, 844-485-3204.

                             COUNT I
     VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                           47 U.S.C. § 227


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  44. Plaintiff incorporates by reference all of the above paragraphs as though fully stated herein.

  45. At all times mentioned herein, and within four years prior to the filing of this action,

     Defendants called Plaintiff’s cellular telephone using an ATDS and/or using a prerecorded

     or artificial voice.

  46. Plaintiff’s telephone number called by Defendants was assigned to a cellular telephone

     service.

  47. The calls from Defendants to Plaintiff were not placed for “emergency purposes” as

     defined by 47 U.S.C. § 227(b)(1)(A)(i).

  48. Calls that Defendants placed to Plaintiff’s cellular telephone number violated 47 U.S.C. §

     227.

  49. Defendants continually harassed Plaintiff with the unauthorized calls and Plaintiff suffered

     an invasion of Plaintiff’s privacy and a loss of privacy as a result of the actions of

     Defendants.

  50. Despite Plaintiff directing Defendants to cease all calls to Plaintiff’s cellular telephone,

     Defendants continued to place telephone calls to Plaintiff’s cellular telephone. Each such

     call placed to Plaintiff was made in knowing and/or willful violation of the TCPA.

  51. Plaintiff is entitled to an order enjoining any further violation of 47 U.S.C. §

     227(b)(1)(A)(iii) pursuant to 47 U.S.C. § 227(b)(3).

  52. As a result of each call made by Defendants in negligent violation of the TCPA, Plaintiff

     is entitled to an award of the greater of actual damages or $500.00 in statutory damages

     pursuant to 47 U.S.C. § 227(b)(3)(B).




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      53. As a result of each call made by Defendants in knowing and/or willful violation of the

         TCPA, Plaintiff is entitled to an award in an amount of up to $1,500.00 per violation

         pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                     REQUEST FOR RELIEF

         WHEREFORE, Plaintiff prays for the following relief against Defendants:

         1.     That a permanent injunction be issued, restraining and enjoining Defendants,

Defendants’ affiliates, subsidiaries, successors, assignees, officers, members, agents, servants,

employees and attorneys and any other person in active concert or participation with Defendants

from communicating with Plaintiff in a manner that violates 47 U.S.C. § 227; and

         2.     That judgment be entered against the Defendants for the greater of actual damages

or statutory damages of Five Hundred Dollars ($500.00) for each and every negligent violation

attributed to the Defendants pursuant to 47 U.S.C. § 227(b)(3)(B); and

         3.     That judgment be entered against the Defendants for treble damages of up to One

Thousand Five Hundred Dollars ($1,500.00) for each and every willful and/or knowing violation

attributed to the Defendants pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C);

and

         4.     That the Court order such other and further relief as may be just and proper.

                                  DEMAND FOR JURY TRIAL

Plaintiff demands trial by jury on all issues so triable.

         DATED this 30th day of June, 2017.

                                                          Respectfully submitted,

                                                          /s/Samuel M. Meyler
                                                          SAMUEL M. MEYLER
                                                          EASTMAN MEYLER, PC
                                                          2301 E. Riverside Dr.
                                                          Bldg. A, Suite 50
                                                 - 10 -
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                                             Telephone: (844) 466-7326
                                             Facsimile: (512) 879-1861
                                             E-mail: sam.meyler@emfirm.com
                                             WASHINGTON STATE BAR NO. 39471
                                             ATTORNEYS FOR PLAINTIFF




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                      EXHIBIT 1
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PTO Form 1553 (Rev 9/2005)
OMB No. 0651-0054 (Exp. 10/31/2017)


                                                    Trademark/Service Mark Statement of Use
                                                          (15 U.S.C. Section 1051(d))


                                                       The table below presents the data as entered.

                                      Input Field                                                    Entered
             SERIAL NUMBER                                        85311004
             LAW OFFICE ASSIGNED                                  LAW OFFICE 109
             MARK SECTION
             MARK                                                 http://tess2.uspto.gov/ImageAgent/ImageAgentProxy?getImage=85311004
             LITERAL ELEMENT                                      AQRATE
             STANDARD CHARACTERS                                  YES
             USPTO-GENERATED IMAGE                                YES
                                                                  The mark consists of standard characters, without claim to any particular font
             MARK STATEMENT
                                                                  style, size or color.
             OWNER SECTION
             NAME                                                 iQor Technologies, Inc.
             STREET                                               335 Madison Avenue, 27th floor
             CITY                                                 New York
             STATE                                                New York
             ZIP/POSTAL CODE                                      10017
             COUNTRY                                              United States
             PHONE                                                917-806-2940
             EMAIL                                                daniel.basov@iqor.com
             GOODS AND/OR SERVICES SECTION
             INTERNATIONAL CLASS                                  009
                                                                  Automated systems, namely, software, hardware and communications devices
             CURRENT IDENTIFICATION                               for planning, scheduling, controlling, monitoring and providing information
                                                                  on consumer outreach; Automatic telephone dialers
             GOODS OR SERVICES                                    KEEP ALL LISTED
             FIRST USE ANYWHERE DATE                              08/06/2013
             FIRST USE IN COMMERCE DATE                           08/06/2013
             SPECIMEN FILE NAME(S)

                   ORIGINAL PDF FILE                              SPN0-6624617334-183200716_._aQrate_Sample_of_Use.pdf
                   CONVERTED PDF FILE(S)
                   (1 page)
                                                                  \\TICRS\EXPORT16\IMAGEOUT16\853\110\85311004\xml5\SOU0002.JPG

                   ORIGINAL PDF FILE                              SPN0-6624617334-183200716_._aQrate_Sample_of_Use_2.pdf
                   CONVERTED PDF FILE(S)
                   (2 pages)
                                                                  \\TICRS\EXPORT16\IMAGEOUT16\853\110\85311004\xml5\SOU0003.JPG
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                                     \\TICRS\EXPORT16\IMAGEOUT16\853\110\85311004\xml5\SOU0004.JPG

  ORIGINAL PDF FILE                  SPN0-6624617334-183200716_._aQrate_Sample_of_Use_3.pdf
  CONVERTED PDF FILE(S)
                                     \\TICRS\EXPORT16\IMAGEOUT16\853\110\85311004\xml5\SOU0005.JPG
  (1 page)

                                     Web pages and marketing materials for the trademark (marketed to customers
SPECIMEN DESCRIPTION
                                     and potential new customers)
INTERNATIONAL CLASS                  042
                                     Computer software and application services provider, namely, hosting,
                                     managing, developing, analyzing and maintaining applications, software and
CURRENT IDENTIFICATION
                                     web sites for others featuring technology that enables users to create a
                                     chronological schedule of events
GOODS OR SERVICES                    KEEP ALL LISTED
FIRST USE ANYWHERE DATE              08/06/2013
FIRST USE IN COMMERCE DATE           08/06/2013
SPECIMEN FILE NAME(S)

  ORIGINAL PDF FILE                  SPN1-6624617334-183200716_._aQrate_Sample_of_Use.pdf
  CONVERTED PDF FILE(S)
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                                     \\TICRS\EXPORT16\IMAGEOUT16\853\110\85311004\xml5\SOU0006.JPG

  ORIGINAL PDF FILE                  SPN1-6624617334-183200716_._aQrate_Sample_of_Use_2.pdf
  CONVERTED PDF FILE(S)
  (2 pages)
                                     \\TICRS\EXPORT16\IMAGEOUT16\853\110\85311004\xml5\SOU0007.JPG

                                     \\TICRS\EXPORT16\IMAGEOUT16\853\110\85311004\xml5\SOU0008.JPG
  ORIGINAL PDF FILE                  SPN1-6624617334-183200716_._aQrate_Sample_of_Use_3.pdf
  CONVERTED PDF FILE(S)
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                                     \\TICRS\EXPORT16\IMAGEOUT16\853\110\85311004\xml5\SOU0009.JPG

                                     Web pages and marketing materials for the trademark (marketed to customers
SPECIMEN DESCRIPTION
                                     and potential new customers)
PAYMENT SECTION
NUMBER OF CLASSES IN USE             2
SUBTOTAL AMOUNT [ALLEGATION OF USE
FEE]
                                     200

TOTAL AMOUNT                         600
SIGNATURE SECTION
                                     /Daniel Basov/
SIGNATORY'S NAME                     Daniel Basov
SIGNATORY'S POSITION                 attorney of record
DATE SIGNED                          08/16/2013
SIGNATORY'S PHONE NUMBER             917-806-2940
DECLARATION SIGNATURE                /Daniel Basov/
SIGNATORY'S NAME                     Daniel Basov
SIGNATORY'S POSITION                 Attorney of record
DATE SIGNED                          08/16/2013
 Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17         PageID.15   Page 15 of 56

SIGNATORY'S PHONE NUMBER      917-806-2940
FILING INFORMATION
SUBMIT DATE                   Fri Aug 16 18:49:04 EDT 2013
                              USPTO/PSE-XX.XXX.XXX.XX-2
                              0130816184904750168-85311
                              004-500ef471088de743ac68c
TEAS STAMP
                              15887fb6b3880d592847e2f6e
                              114ce30bed744c45fee-CC-51
                              50-20130816183200716819
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PTO Form 1553 (Rev 9/2005)
OMB No. 0651-0054 (Exp. 10/31/2017)




                                              Trademark/Service Mark Statement of Use
                                                    (15 U.S.C. Section 1051(d))
To the Commissioner for Trademarks:
MARK: AQRATE(Standard Characters, see http://tess2.uspto.gov/ImageAgent/ImageAgentProxy?getImage=85311004)
SERIAL NUMBER: 85311004



The applicant, iQor Technologies, Inc., having an address of
    335 Madison Avenue, 27th floor
    New York, New York 10017
    United States
is submitting the following allegation of use information:

For International Class 009:
Current identification: Automated systems, namely, software, hardware and communications devices for planning, scheduling, controlling,
monitoring and providing information on consumer outreach; Automatic telephone dialers

The mark is in use in commerce on or in connection with all of the goods/services, or to indicate membership in the collective organization listed
in the application or Notice of Allowance or as subsequently modified for this specific class.

The mark was first used by the applicant, or the applicant's related company, licensee, or predecessor in interest at least as early as 08/06/2013,
and first used in commerce at least as early as 08/06/2013, and is now in use in such commerce. The applicant is submitting one specimen for the
class showing the mark as used in commerce on or in connection with any item in the class, consisting of a(n) Web pages and marketing
materials for the trademark (marketed to customers and potential new customers).

Original PDF file:
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Converted PDF file(s) (1 page)
Specimen File1
Original PDF file:
SPN0-6624617334-183200716_._aQrate_Sample_of_Use_2.pdf
Converted PDF file(s) (2 pages)
Specimen File1
Specimen File2
Original PDF file:
SPN0-6624617334-183200716_._aQrate_Sample_of_Use_3.pdf
Converted PDF file(s) (1 page)
Specimen File1


For International Class 042:
Current identification: Computer software and application services provider, namely, hosting, managing, developing, analyzing and maintaining
applications, software and web sites for others featuring technology that enables users to create a chronological schedule of events

The mark is in use in commerce on or in connection with all of the goods/services, or to indicate membership in the collective organization listed
in the application or Notice of Allowance or as subsequently modified for this specific class.

The mark was first used by the applicant, or the applicant's related company, licensee, or predecessor in interest at least as early as 08/06/2013,
and first used in commerce at least as early as 08/06/2013, and is now in use in such commerce. The applicant is submitting one specimen for the
class showing the mark as used in commerce on or in connection with any item in the class, consisting of a(n) Web pages and marketing
materials for the trademark (marketed to customers and potential new customers).

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Specimen File1
Original PDF file:
SPN1-6624617334-183200716_._aQrate_Sample_of_Use_2.pdf
Converted PDF file(s) (2 pages)
Specimen File1
Specimen File2
Original PDF file:
SPN1-6624617334-183200716_._aQrate_Sample_of_Use_3.pdf
Converted PDF file(s) (1 page)
Specimen File1



A fee payment in the amount of $100 will be

A fee payment in the amount of $300 will be

A fee payment in the amount of $200 will be submitted with the form, representing payment for the allegation of use for 2 classes.


                                                                   Declaration

Applicant requests registration of the above-identified trademark/service mark in the United States Patent and Trademark Office on the Principal
Register established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq., as amended). Applicant is the owner of the mark sought to be
registered, and is using the mark in commerce on or in connection with the goods/services identified above, as evidenced by the attached
specimen(s) showing the mark as used in commerce.

The undersigned, being hereby warned that willful false statements and the like so made are punishable by fine or imprisonment, or both, under
18 U.S.C. Section 1001, and that such willful false statements may jeopardize the validity of the form or any resulting registration, declares that
he/she is properly authorized to execute this form on behalf of the applicant; he/she believes the applicant to be the owner of the
trademark/service mark sought to be registered, or, if the form is being filed under 15 U.S.C. Section 1126(d) or (e), he/she believes applicant to
be entitled to use such mark in commerce; to the best of his/her knowledge and belief no other person, firm, corporation, or association has the
right to use the mark in commerce, either in the identical form thereof or in such near resemblance thereto as to be likely, when used on or in
connection with the goods/services of such other person, to cause confusion, or to cause mistake, or to deceive; and that all statements made of
his/her own knowledge are true; and that all statements made on information and belief are believed to be true.


Signature: /Daniel Basov/ Date Signed: 08/16/2013
Signatory's Name: Daniel Basov
Signatory's Position: Attorney of record
Signatory's Phone: 917-806-2940

RAM Sale Number: 85311004
RAM Accounting Date: 08/19/2013

Serial Number: 85311004
Internet Transmission Date: Fri Aug 16 18:49:04 EDT 2013
TEAS Stamp: USPTO/PSE-XX.XXX.XXX.XX-2013081618490475
0168-85311004-500ef471088de743ac68c15887
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                      EXHIBIT 2
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                                                                            Public Utility Commission of Texas                                                      -r Ix AS
                                                                                             ADAD Registration                                          ONLINESUBMISSION
                                                                                               Project42082                                         S u b m 1 t t e d B y • dr obbln ,


                      Company Name: ALLIED INTERSTATE LLC
                                                                                                                                  Submissions: 0
                  PUC Tracking No.: AD060035                                                                                  Last Submitted: Never Submitted
                    Project No: 42082                                                                                     Organization Type: Limited Liability Company, L.L.C
    NOTE: For changes to business entity, state of incorporation, identification numbers, or business or professional certificates please convey information in the note
                                                                                                                                                                         field in the Affirmation section below.
    Thank you.

                                                                  Click the "Submit" button to complete this section.
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              5
    Mailing     PO Box
                                                                                                                                                            Primary Address
                Company: ALLIED INTERSTATE LLC
                                                                                                                                   Main: (760) 534-0310
                  Contact: STEPHANIE SCHUIIT                                                                                  Toll-Free:
{                     Title:
                                                                                                                                    Fax:
               Addressl: 335 MADISON AVE 27TH R
                                                                                                                                 Home:
               Address2:
                                                                                                                                    Cell:
              City/St/Zip: NEW YORK NY 10017
                                                                                                                                  Email: drobbns@cornerstonesupporLcom
                 Website:

    Company / Physical
            Company: ALLIED INTERSTATE
                                                                                                                                   Main: (760) 534-0310
              Contact: STEPHANIE SCHUITT                                                                                      Toll-Free:
                  Title:
                                                                                                                                   Fax:
           Addressl: 12755 HIGHWAY 55 SUITE 300
                                                                                                                                 Home:
           Address2:
                                                                                                                                   Cell:
          City/St/Zip: PLYMOUTH MN 55441
                                                                                                                                 Email: drobbins@comerstonesupportcom
             Website:




ADAD Physical Address
        Provider: Asterisk
                                                                                                                   Manufacturer: Astensk
        Serial No. NA                                                                                    FCC/ACTA Registration No:NA
       Company:ALLIED INTERSTATE LLC
                                                                                                                             Main:(646) 375-6148
         Contact;MICHELE WARD
                                                                                                                        Toll-Free:
            Title-
                                                                                                                              Fax:
       Address1:76 4TH AVENUE, lOTH FLOOR
                  Address2:                                                                                                        Cell;
              CityJSt/2ip:NEW YORK NY 10011
                                                                                                                                 Email; m chele. ward@i qor. com




Public Utility Commission of Texas
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                   Comments:
                         Name: Denise Robbins
                           Title: Licensing Specialist
                  Affirm Date.: 4/16/2014 7:31:20 AM

                        StatEis: EDIT
  By submitting this report, I swear and affirm that all statements and representations submitted herein are true and correct to the best of my
  knowledge.




Public Utility Commission of Texas
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                             Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17                                                                                                  PageID.30                           Page 30 of 56




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                       Donna I.. Nelson                                                                                                                                                {        g                        ^;"`        Gorcrnnr
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                                                                                                                                                                                             ONLINE SUBMISSION
                                                                                                                      ADAD Registration
                                                                                                                                                                                       S             By: drobbine
                                                                                                                        Project43994
                       r     -                                                                                   - -- ^^°
                                          r
                                                                                                                                                                      Submissions: 0
                           Company Name: ALLIED INTERSTATE LLC
                       PUC Tracking No.: AD060035                                                                                                               Last Submitted: Never Submitted

                                 Project No: 43994                                                                                                        Organization Type: Limited Liability Company, L.L.C
NOTE: For changes to business entity, state of incorporation, identification numbers, or business or professional certificates please convey information in the note field in the Affirmation section below.
Thank you.
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      A ;W, e^s' inform atio„
                                                                                           Now i=nteroestcy                                                                                               Primary Address
      Mailing / PO Box
                Company: ALLIED INTERSTATE LLC                                                                                                                       Main: (760) 534-0310
                 Contact: STEPHANIE SCHUITT                                                                                                                     Toll-Free:
                                 Title:                                                                                                                                 Fax:
                           Addressl: 335 MADISON AVE 271-H FL                                                                                                         Nome,
                           Address2:                                                                                                                                    Cell,
                       City/St/Zip: NEW YORK NY 10017                                                                                                                  Email: drobdns@cornerstonesupportcom
                             Website:

      Company / Physical                                                                   Non Eisao'geracy
}I[                         Company: ALLIED INTERSTATE                                                                                                               Main: (760) 534-0310
                             Contact: STEPHANIE SCHt111T                                                                                                        Toll-Free:
                                Title:                                                                                                                                Fax:
                            Addressl: 12755 HIGHWAY 55 SUITE 300                                                                                                       Home:
                            Address2:                                                                                                                                    Cell:
                                                                                                                                                                       Email: drobbins@comerstonesupportcom
                       City/St/Zip: PLYMOUTH MN 55441
                          Website:
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          ADAD Physical Address
                             Provider: Asterisk                                                                                                          Manufacturer: Asterisk
                             Serial No: NA                                                                                              FCC/ACTA Registration No:NA
                            Company:ALLIED INTERSTATE LLC                                                                                                   Main:(646) 375-6148
                              Contact:MICHELE WARD                                                                                                     Toll-Free:
                                 Title:                                                                                                                                 Fax.
                            Addressl:76 9TH AVENUE, 10TH FLOOR                                                                                                          Cell:
                            Address2:
                           City/St/Zip:NEW YORK NY 10011                                                                                                               Email:mildlde.ward@iqor.com




          Public Utility Commission of Texas                                                                                                                                                                                                                   Page i/ 2




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               Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17                                        PageID.31           Page 31 of 56




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                  Comments:
                        Name: Denise Robbins
                         Title: Licensing Specialist
                 Affirm Date: 2/10/2015 1:08:12 PM

                       Statu,: EDIT
By submitting this report, I swear and affirm that all statements and representations submitted herein are true and correct to the best of my
knowledge.




Public Utility Commission of Texas                                                                                                              Page 2/ 2
                              Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17                                                                                     PageID.32                           Page 32 of 56




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    ^^-^--N --$                      .-.                                                            Project 45440                                                    Submitted By TsA wd n

                 Company Name. ALLIED INTERSTATE LLC                                                                                                                                                             °
                                                                                                                                                  Submissions; 0
                PUC Tracking No.: AD060035
                    Project No: 45440                                                                                                           Last Submitted' Never Submitted
    NOTE: For changes to business entity, state of incorporation, identification numbers, or business or                               Organization Type: Limited Liability Company, L.L.C
   Thank you,                                                                                                         professional certificates please convey information in the note field in the Affirmation section below.

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   Mailing / PO Box                                                                                                                                                            11
                                                                              Non Emergency
             Company: ALLIED INTERSTATE LLC                                                                                                                                         Primary Address
                 Contact: STEPHANIE SCHUfTT                                                                                                    Main: (760) 534-0310
                   Title:                                                                                                                 Toll-Free:
             Addressi: 200 CENTRAL AVENUE , 7rH FLOOR                                                                                              Fax:
             Address2:                                                                                                                           Home:
            City/St/Zip; ST. PETERSBURG FL 33701                                                                                                   Cell.
               Website:                                                                                                                          Email: swreh@comerstonesupportcom

  Company / Physical
                                                                              Non Emergency
         Company: ALLIED INTERSTATE
           Contact: STEPHANIE SCHUITT                                                                                                             Main: (760) 534-0310
                      Title;                                                                                                             Toll-Free:
              Addressi: 12755 HIGHWAY 55 SUITE 300                                                                                                 Fax;
              Address2:                                                                                                                          Home;
           City/St/Zip: PLYMOUTH MN 55441                                                                                                         Cell:
              Website:                                                                                                                           Email: swreh@comerstonesupportcom




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 ADAD Physical Address
         Provider: Asterisk
         Serial No: NA                                                                                                     Manufacturer: Asterisk
        Company:ALLIED INTERSTATE LLC                                                                            FCC/ACTA Registration No. NA
LContact:SfEPHANIE SCHUITT                                                                                                           Main:(866) 490-3593
             Title:                                                                                                             Toll-Free:(866) 490-3593
        Address1:1719 STATE RT 10 EAST,                                                                                               Fax:
        Address2:                                                                                                                     Cell:
          City/St/Zip:PARSIPPANY NJ 10011
                                                                                                                                            Enaii.stepharie. schuitt@iqor.com




Public Utility Commission of Texas
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                      Comments:
                            Name: Dan Montenaro
                              Title: President
                     Affirm Date: 2/2 4/2016 11:36:10 AM
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    By submitting this report, I swear and affirm that all statements and representations submitted herein are true and correct to the best of my
    knowledge.




Public Utility Commission of Texas
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Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17   PageID.34   Page 34 of 56




                      EXHIBIT 3
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                                                                   Project 42082
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           Company Name: ALLIANCEONE RECEIVABLES MANAGEMENT INC                            Submissions: 0

          PUC Tracking No.: AD060078                                                    Last Submitted: Never Submitted




Address Information
Mailing / PO Box                                                                                                         Primary Address
          Company: ALLIANCEONE RECEIVABLES MANAGEMENT INC                                   Main: (651) 255-2001
            Contact: ROY BUCHHOLZ                                                       Toll-Free:
               Title:                                                                         Fax: (800) 501-4743
          Addressl: 4850 STREET ROAD                                                       Home:
          Address2: SUITE 300                                                                 Cell:
        City/St/Zip: TREVOSE PA 19053                                                       Email: Roy.Buchhdz@alenceoneinc.com
           Website:

Company / Physical
           Company: ALLIANCEONE RECEIVABLES MANAGEMENT INC                                   Main: (651) 255-2133
            Contact: JAIME AWOYINKA                                                     Toll-Free: (866) 8344950
                Title:                                                                        Fax: (800) 501-4743
           Addressl: 3000 AMES CROSSING ROAD                                               Home:
           Address2: SUITE 750                                                                Cell:
         City/St/Zip: EAGAN MN 55121                                                        Email: Jaime.Awoyinka@altiancewleinc.com
            Website:


Contact Company: ALLIANCEONE RECEIVABLES MANAGEMENT INC                                      Main: (651) 255-2133
           Contact: JAIME AWOYINKA                                                      Toll-Free: (866) 834-4950
               Title: COMPLIANCE OFFICER                                                      Fax: (800) 501-4743
          Addressl: 3000 AMES CROSSING ROAD                                                 Home:
          Address2: SUITE 750                                                                 Cell:
        City/St/Zip: EAGAN MN 55121                                                         Email: Jaime.Awoymka@allianceoneinc.com
           Website:




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Public Utility Commission of Texas




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               Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17                      PageID.36              Page 36 of 56




           Serial No: D/480SC-2T1, D/240SC-TI              FCC/ACTA Registration No:ENCUSA-3315-CN-E
          Company:AL1IANCEONE RECEIVABLES MANAGEMENT INC                       Main:(651) 255-2001
            Contact:ROY BUCHHOLZ                                          Toll-Free:
                Title:                                                          Fax-.(800) 501-4743
          Address1:1991 S 4650 W                                                Cell:
          Address2:
        City/St/Zip:SALT LAKE CITY UT 84104                                   Email:Jaime.Awoyinlo@allianceoneinc.com
ADAD Physical Address
           Provider: VERIZON                                         Manufacturer: ONTARIO SYSTEMS
          Serial No. D/480SC-2T1, D/240SC-TI               FCC/ACTA Registration No:ENCUSA-3315-CN-E
         Company:ALLIANCEONE RECEIVABLES MANAGEMENT INC                        Main:(651) 255-2001
            Contact:ROY BUCHHOLZ                                         Toll-Free:
                Title:                                                          Fax:
         Address1:4850 STREET ROAD                                              Cell:
         Address2: LEVEL 3
       City/St/Zip:TREVOSE PA 19053                                           Email:Jaime.Awoyinlo@alfranceor>einc.com
ADAD Physical Address
           Provider: Ver¢on                                           Manufacturer: ONTARIO SYSTEMS
          Serial No: D/480SC-2T1, D/240SC-TI               FCC/ACTA Registration No:ENCUSA-34549-CN-T
         Company:ALIIANCEONE RECEIVABLES MANAGEMENT INC                        Main:(651) 255-2001
            Contact:ROY BUCHHOLZ                                          Toll-Free:
                Title:                                                          Fax;(800) 501-4743
         Address1:1991 S 4650 W                                                 Cell:
         Address2:
       City/St/Zip:SALT LAKE CITY UT 84104                                    Email:laime.Awoyinkaoaflianoeorcinc.com
ADAD Physical Address
           Provider: CENTURY LINK                                    Manufacturer: ONTARIO SYSTEMS
           Serial No: D/480SC-2T1, D/240SC-1I              FCC/ACTA Registration No:EMt1SA-21110-m-N
         Company:ALLIANCEONE RECEIVABLES MANAGEMENT INC                        Main:(651) 255-2001
            Contact:ROY BUCIQiOLZ                                         Toll-Free:
                Title:                                                           Fax:(800) 501-4743
         Address 1: 1991 S 4650 W                                                Cell:
         Address2:
       City/St/Zip:SALT LAKE CITY UT 84104                                    Emaii:Jaime.Awoyinka@aWiarwRoneiric.com
ADAD Physical Address
           Provider; CENTURY LINK                                    Manufacturer: ONTARIO SYSTEMS
           Serial No: D/480SC-2T1, D/240SC-TI              FCC/ACTA Registration No:EMCUSA-775484UM-E
          Company:ALLiANCEONE RECEIVABLES MANAGEMENT INC                        Main:(651) 255-2001
            Contact:ROY BUCHHOLZ                                           Toil-Free:
                Title:                                                          Fax:(800) 501-4743
         Address1:1991 S 4650 W                                                 Cell:
         Address2:
       City/St/Zip:SALT LAKE CITY UT 84104                                    Email:Jaime.Awoyinl^l6anceor>einc.com
ADAD Physical Address
           Provider: CENTURY LINK                                    Manufacturer: ONTARIO SYSTEMS
           Serial No: D/480SC-2T1, D/240SC-T1              FCC/ACTA Registration No:ENCUSA-34549-CN-T
          Company:AL1IANCEONE RECEIVABLES MANAGEMENT INC                       Main:(651) 255-2001
            Contact: ROY BUCHHOLZ                                         Toll-Free:
                 Title:                                                         Fax:
         Addressl:1991 S 4650 W                                                 Cell:
         Address2:
        City/St/Zip:SALT IAIa= CITY UT 84104                                  Email:]aime.Awoyinka@aBianceorieinc.mm
 ADAD Physical Address
             Provider: Venzon                                        Manufacturer: ONTARIO SYSTEMS
         Serial No: D/480SC-2T1, D/240SC-TI                FCC/ACTA Registration No:EMUSA-21110-m-N
        Company:ALIIANCEONE RECEIVABLES MANAGEMENT INC                         Main:(651) 255-2001
          Contact:ROY BUCHHOLZ                                           Toll-Free:
              Title:                                                            Fax:
       Address1:1991 S 4650 W                                                   Cell:
       Address2:
      City/St/Zip:SALT LAKE C1TY UT 84104                                     Emaii:]aime.Awoyinka@allianceoneinc.com
ADAD Physical Address
         Provider: VERIZON,                                          Manufacturer: ONTARIO SYSTEMS
         Serial No. D/480SC-2T1, D/240SC-T1                FCC/ACTA Registration No:EMC1JSA-77548-1M1-E
        Company:ALIIANCEONE RECEIVABLES MANAGEMENT INC                         Main:(651) 255-2001
          Contact:ROY BUCHHOLZ                                            Toll-Free:
               Title:                                                           Fax:
        Address 1:4850 STREET ROAD                                              Cell-
        Address2:SU1TE 300
      City/St/Zip:Tf2EVOSE PA 19053                                           Email.Jaime.Awoyinka@aNianceoriLinr.com
ADAD Physical Address



Public Utility Commussion of Texas                                                                                             Page 2/
                     Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17                                     PageID.37              Page 37 of 56




              Provider: VERIZON                                                           Manufacturer: ONTARIO SYSTEMS
             Serial No: D/4805C-2i1, D/240SC-TI                                 FCC/ACTA Registration No:ENCUSA-3315-CN-E
             Company:** COPY RECORD ** AtLIANCEONE RECEIVABLES MANAGEMENT INC                       Main:(651) 255-2001
               Contact:ROY BUCHHOLZ                                                           Toll-Free:
                   Title:                                                                            Fax:(800) 50111743
            Address1:4850 STREET ROAD                                                                Cell:
            Address2:SUIfE 300
           City/St/Zip:TREVOSI: PA 19053                                                           Email Jaime.Awoyinlo^.DalNanceoneinc.com
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                     Comments:
                          Name: Tim Casey
                           Title: President and CEO
                     Affirm Date: 8/14/2014 11:18:12 AM
                         Status: EDIT
 By submitting this report, I swear and affirm that all statements and representations submitted herein are true and correct to the best of my
 knowledge.




Public Utility Commission of Texas                                                                                                                       Page 3/
        Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17                                                                          PageID.38                   Page 38 of 56




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                                     Anderson, Sr


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                                                                                                                                                         COMMISSION OF
                                                                        Public Utility COMmissioR Of Texas                                               TEXAS
                                                                                                                                                   ONLINE SUBMISSION
                                                                                   ADAD Registration
                                                                                                                                                S u b m i t t e d B y j a w o y i n k a
                                                                                            Project 43994


                 Company Name: ALLIANCEONE RECEIVABLES MANAGEMENT INC                                                         Submissions: 0

             PUC Tracking No.: AD060078                                                                                    Last Submitted: Never Submitted

               Project No: 43994                                                                                      Organization Type: Corporation
NOTE: For changes to business entity, state of incorporation, identification numbers, or business or professional certificates please convey information in the note field in the Affirmation section below.
Thank you.
                                                               Click the "Submit" button to complete this section.
                                                                                      Submit




ALLI/41^_i       f-




                                                                                                                                                                Primary Address
Mailing / PO Box
           Company: ALLIANCEONE RECEIVABLES MANAGEMENT INC                                                                      Main: (651) 255-2001
             Contact: ROY BUCHHOLZ                                                                                         Toll-Free:
                 Title:                                                                                                          Fax: (800) 501-4743
          Addressl: 4850 STREET ROAD                                                                                           Home:
           Address2: SUITE 300                                                                                                  Cell:
         City/St/Zip: TREVOSE PA 19053                                                                                         Email: Roy.Buchholz@allianceoneinc.com
            Website:

Company I Physical
               Company: ALLIANCEONE RECEIVABLES MANAGEMENT INC                                                                  Main: (651) 255-2065
                Contact: TIM GRENZ                                                                                         Toll-Free: (888) 816-8795
                    Title:                                                                                                       Fax: (800) 501-4743
              Addressl: 3000 AMES CROSSING ROAD                                                                                Home:
               Address2: SUITE 750                                                                                              Cell:
             City/St/Zip: EAGAN MN 55121                                                                                       Email: Tm.Grenz@allianceoneinc.com
                Website:

Contact                                               Non F:irert}eescy
               Company: ALLIANCEONE RECEIVABLES MANAGEMENT INC                                                                  Main: (651) 255-2065
                 Contact: TIM GRENZ                                                                                        Toll-Free: (888) 816-8795
                    Title: COMPLIANCE OFFICER                                                                                    Fax: (800) 501-4743
              Addressi: 3000 AMES CROSSING ROAD                                                                                Home:
              Address2: SUITE 750                                                                                                Cell:
             City/St/Zip: EAGAN MN 55121                                                                                        Email: tim.grenz@allianceoneinc.com
                Website:




?ADAD Physical Address
         Provider: CENTURY LINK                                                                                      Manufacturer: ONTARIO SYSTEMS


                                                                                                                                                                                                               Pagel/
Public Utility Commission of Texas




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       Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17                           PageID.39                 Page 39 of 56




          Serial No: D/480SC-2T1, D/240SC-TI               FCC/ACTA Registration No:ENCUSA-3315-CN-E
         Company:ALLIANCEONE RECEIVABLES MANAGEMENT INC                         Main:(651) 255-2001
            Contact:ROY BUCHHOLZ                                           Toll-Free:
               Title:                                                            Fax:(800) 501-4743
         Address1:1991 S 4650 W                                                  Cell:
         Address2:
       City/St/Zip:SALT LAKE CITY UT 84104                                    Enmii:Tim.Grenz@allianceoneinc.com
ADAD Physical Address
           Provider: VERIZON                                         Manufacturer: ONTARIO SYSTEMS
          Serial No: D/480SC-2T1, D/240SC-T1               FCC/ACTA Registration No:ENCUSA-3315-CN-E
         Company:ALLIANCEONE RECEIVABLES MANAGEMENT INC                        Main:(651) 255-2001
            Contact:ROY BUCHHOLZ                                          Toll-Free:
                Title:                                                          Fax:
         Addressl:4850 STREET ROAD                                              Cell:
         Address2: LEVEL 3
       City/St/Zip:TREVOSE PA 19053                                           Emai[:Tim.Grenz@aliianceoneinc.com
ADAD Physical Address
           Provider: Verizon                                         Manufacturer: ONTARIO SYSTEMS
           Serial No: D/480SC-2T1, D/240SC-TI              FCC/ACTA Registration No:ENCUSA-34549-CN-T
         Company;ALLIANCEONE RECEIVABLES MANAGEMENT INC                         Main:(651) 255-2001
            Contact: ROY BUCHHOLZ                                          Toll-Free:
                Title:                                                           Fax:(800) 501-4743
         Address1:1991 S 4650 W                                                  Cell:
         Address2:
       City/St/Zip:SALT LAKE CITY UT 84104                                    Ema i I:Ti m.Grenz@a Ilianceoneinc.com
ADAD Physical Address
           Provider: CENTURY LINK                                     Manufacturer: ONTARIO SYSTEMS
           Serial No: D/480SC-2T1, D/2405C-TI              FCC/ACTA Registration No:EMUSA-21110-m-N
         Company:ALLIANCEONE RECEIVABLES MANAGEMENT INC                        Main:(651) 255-2001
            Contact:ROY BUCKHOLZ                                          Toll-Free:
                Title:                                                          Fax:(800) 501-4743
         Address 1: 1991 5 4650 W                                               Cell:
         Address2:
       City/St/Zip:SALT LAKE CITY UT 84104                                    En-taii:Tim.Grenz@allianceoneinc.com
ADAD Physical Address
           Provider: CENTURY LINK                                    Manufacturer: ONTARIO SYSTEMS
           Serial No: D/480SC-2T1, D/240SC-TI              FCC/ACTA Registration No:EMCUSA-77548-UM-E
          Company:ALLIANCEONE RECEIVABLES MANAGEMENT INC                        Main:(651) 255-2001
            Contact:ROY BUCHHOLZ                                           Toll-Free:
                Title:                                                           Fax;(800) 501-4743
         Address1:1991 S 4650 W                                                  Cell:
         Address2:
       City/St/Zip:SALT LAKE CITY UT 84104                                    Email:Ttm.Grenz@allianceoneinc.com
ADAD Physical Address
            Provider: CENTURY LINK                                    Manufacturer: ONTARIO SYSTEMS
           Serial No: D/480SC-2T1, D/240SC-T1              FCC/ACTA Registration No:ENCUSA-34549-CN-T
          Company:ALLIANCEONE RECEIVABLES MANAGEMENT INC                        Main:(651) 255-2001
            Contact:ROY BUCHHOLZ                                           Toll-Free:
                 Title:                                                          Fax:
          Address1:1991 S 4650 W                                                 Cell:
          Address2:
        City/St/Zip:SALT LAKE CITY UT 84104                                   Email:Tim.Grenz@allianceoneinc.com
 ADAD Physical Address
             Provider: Verizon                                       Manufacturer: ONTARIO SYSTEMS
          Serial No: D/4805C-2T1, D/240SC-TI               FCC/ACTA Registration No:EMUSA-21110-m-N
         Company:ALLIANCEONE RECEIVABLES MANAGEMENT INC                        Main:(651) 255-2001
           Contact:ROY BUCHHOLZ                                           Toll-Free:
               Title:                                                           Fax:
        Address1:1991 S 4650 W                                                  Cell:
        Address2:
       City/St/Zip:SALT LAKE CITY UT 84104                                    Emai I:Ti m.Grenz@a Ilianceoneinc.com
,ADAD Physical Address
             Provider: VERIZON,                                       Manufacturer: ONTARIO SYSTEMS
         Serial No: D/480SC-2T1, D/240SC-T1                FCC/ACTA Registration No:EMCUSA-77548-UM-E
        Company:ALLIANCEONE RECEIVABLES MANAGEMENT INC                         Main:(651) 255-2001
          Contact:ROY BUCHHOLZ                                            Toll-Free:
              Title:                                                            Fax:
       Addressl:4850 STREET ROAD                                                Cell:
       Address2:SUITE 300
      City/St/Zip:TREVOSE PA 19053                                            Email:Tim.Grenz@allianceoneinc.com
ADAD Physical Address


                                                                                                                               Page 2 /'
Public Utility Commission of Texas
       Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17                                             PageID.40              Page 40 of 56




            Provider: VERIZON                                                           Manufacturer: ONTARIO SYSTEMS
            Serial No: D/480SC-2T1, D/240SC-TI                                FCC/ACTA Registration No:ENCUSA-3315-CN-E
           Company:** COPY RECORD ** ALLIANCEONE RECEIVABLES MANAGEMENT INC                        Main:(651) 255-2001
             Contact:ROY BUCHHOLZ                                                             Toll-Free:
                  Title:                                                                            Fax:(800) 501-4743
           Address1:4850 STREET ROAD                                                                Cell:
          Address2:SUITE 300
         City/ St/Zip:TREVOSE PA 19053                                                           Email:Tim.Grenz@allianceoneinc.com




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                 Comments:
                       Name. Tim Casey
                         7itle: President and CEO
                 Affirm Date: 7/15/2015 5:13:14 PM

                Stati.is: EDIT
By submitting this report, I swear and affirm that all statements and representations submitted herein are true and correct to the best of my
knowledge.




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Public Utility Commission of Texas
                              Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17                                                                                                                                                                PageID.41                                      Page 41 of 56



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                                                                                                                                                                                                                                                                                             COMMISSION OF
                                                                                                                                      P u bli c Utility C omm i ss i on o f T exas                                                                                                           'rE X A S
                                                                                                                                                                      ADADRegistration                                                                     ONLINE SUBMISSION
                                                                                                                                                                       Project 45440                                                                     Submitted ay iewoyinke
                                                                                                                                                                                                                                                              C,e


                              Company Name: ALLIANCEONE RECEIVABLES MANAGEMENT INC                                                                                                                                              Submissions: 0
                          PUC Tracking No.: AD060078                                                                                                                                                                          Last Submitted: Never Submitted
                                               Project No: 45440                                                                                                                                                   Organization Type: Corporation
NOTE: For changes to business entity, state of incorporation, identification numbers, or business or professional certificates please convey information in the note field in the Affirmation section below.
Thank you.
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Mailing / PO Box                                                                        Nr,i                                                                                                                                                            Primary Address
          Company:                                        ALLIANCEONE RECEIVABLES MANAGEMENT INC                                                                                                                              Main: (651) 255-2001
            Contact:                                      ROY BUCHHOLZ                                                                                                                                                   Toll-Free:
               Title:                                                                                                                                                                                                          Fax: (800) 501-4743
          Addressl:                                       4850 STREET ROAD                                                                                                                                                  Home:
          Address2:                                       SUITE 300                                                                                                                                                            Cell:
                      City/St/Zip: TREVOSE PA 19053                                                                                                                                                                          Email: Roy.Buchholz@allianceoneinc.com
                         Website:

Company / Physical                                                                      Non Emergency
       Company:                                           ALLIANCEONE RECEIVABLES MANAGEMENT INC                                                                                                                              Main: (651) 255-2065
         Contact:                                         TIM GRENZ                                                                                                                                                      Toll-Free: (888) 816-8795
             Title:                                                                                                                                                                                                               Fax: (800) 501-4743
       Addressl:                                          3000 AMES CROSSING ROAD                                                                                                                                               Home:
       Address2:                                          SUITE 750                                                                                                                                                               Cell:
      City/St/Zip:                                        EAGAN MN 55121                                                                                                                                                        Email: Tim.Grenz@allianceoneinc.com
         Website:

                                                               Non Emergency
                        Company: ALLiANCEONE RECEIVABLES MANAGEMENT INC                                                                                                                                                       Main: (651) 255-2132
                         Contact: CAROL EZELL                                                                                                                                                                            Toll-Free: (866) 367-6619
                             Title: COMPLIANCE OFFICER                                                                                                                                                                            Fax: (800) 501-4743
                       Addressl: 3000 AMES CROSSING ROAD                                                                                                                                                                        Home:
                       Address2: SUITE 750                                                                                                                                                                                        Cell:
                      City/St/Zip: EAGAN MN 55121                                                                                                                                                                               Email: tim.grenz@allianceoneinc.com
                         Website:

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ADAD Physical Address
        Provider: CENTURY LINK                                                                                                                                                                                Manufacturer: ONTARIO SYSTEMS


Public Utility Commission of Texas                                                                                                                                                                                                                                                                                                                        Page I / 3




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              Serial No: D/480SC-2T1, D/240SC-TI              FCC/ACTA Registration No:ENCUSA-3315-CN-E
             Company:ALLIANCEONE RECEIVABLES MANAGEMENT INC                       Main:(651) 255-2001
               Contact:ROY BUCHHOLZ                                          Toll-Free:
                   Title:                                                          Fax:(800) 501-4743
             Address1:1991 S 4650 W                                                Cell:
            Address2:
           City/St/Zip:SALT LAKE CITY UT 84104                                   Emaii:Tim.Grenz@allianceoneinc.com
 ADAD Physical Address
              Provider: VERIZON                                         Manufacturer: ONTARIO SYSTEMS
              Serial No: D/480SC-2T1, D/240SC-TI              FCC/ACTA Registration No:ENCUSA-3315-CN-E
            Company:ALLIANCEONE RECEIVABLES MANAGEMENT INC                         Main:(651) 255-2001
              Contact: ROY BUCHHOLZ                                           Toll-Free:
                 Title:                                                             Fax:
            Address1:4850 STREET ROAD                                               Cell:
        Address2: LEVEL 3
       City/St/Zip:TREVOSE PA 19053                                              Emaii:Tim.Grenz@allianceoneinc.com
 ADAD Physical Address
          Provider: Verizon                                             Manufacturer: ONTARIO SYSTEMS
          Serial No: D/480SC-2T1, D/240SC-TI                  FCC/ACTA Registration No:ENCUSA-34549-CN-T
             Company:ALLIANCEONE RECEIVABLES MANAGEMENT INC                       Main:(651) 255-2001
               Contact:ROY BUCHHOLZ                                          Toll-Free:
                  Title:                                                           Fax:(800) 501-4743
           Address1:1991 S 4650 W                                                  Cell:
           Address2:
          City/St/Zip:SALT LAKE CITY UT 84104                                    Email:Tim.Grenz@alliana:oneinc.com
 ADAD Physical Address
             Provider: CENTURY LINK                                     Manufacturer: ONTARIO SYSTEMS
             Serial No: D/480SC-2T1, D/240SC-TI               FCC/ACTA Registration No:EMUSA-21110-m-N
            Company:ALLIANCEONE RECEIVABLES MANAGEMENT INC                        Main:(651) 255-2001
              Contact: ROY BUCKHOLZ                                          Toll-Free:
                 Title:                                                            Fax:(800) 501-4743
            Address1:1991 S 4650 W                                                 Cell:
            Address2:
       City/St/Zip:SALT LAKE CITY UT 84104                                       Email:Tim.Grenz@allianceoneinc.com
 ADAD Physical Address
          Provider: CENTURY LINK                                        Manufacturer: ONTARIO SYSTEMS
          Serial No: D/480SC-2T1, D/240SC-TI                  FCC/ACTA Registration No:EMCUSA-77548-UM-E
         Company:ALLIANCEONE RECEIVABLES MANAGEMENT INC                            Main:(651) 255-2001
           Contact:ROY BUCHHOLZ                                               Toll-Free:
               Title:                                                               Fax:(800) 501-4743
        Address1:1991 S 4650 W                                                      Cell:
        Address2:
       City/St/Zip:SALT LAKE CITY UT 84104                                       Email:Tim.Grenz@allianceonelnc.com
 ADAD Physical Address
             Provider: CENTURY LINK                                      Manufacturer: ONTARIO SYSTEMS
             Serial No: D/480SC-2T1, D/240SC-T1               FCC/ACTA Registration No:ENCUSA-34549-CN-T
            Company:ALL7ANCEONE RECEIVABLES MANAGEMENT INC                         Main:(651) 255-2001
              Contact: ROY BUCHHOLZ                                           Toll-Free:
                  Title:                                                           Fax:
            Address1:1991 S 4650 W                                                 Cell:
            Address2:
       City/St/Zip:SALT LAKE CITY UT 84104                                       Email:Tim.Grenz@allianceoneinc.com
 4DAD Physical Address
             Provider: Verizon                                           Manufacturer: ONTARIO SYSTEMS
             Serial No. D/480SC-2T1, D/240SC-T1               FCC/ACTA Registration No:EMUSA-21110-m-N
            Company:ALLIANCEONE RECEIVABLES MANAGEMENT INC                       Main:(651) 255-2001
              Contact:ROY BUCHHOLZ                                           Toll-Free:
                 Title:                                                            Fax:
            Address1:1991 S 4650 W                                                 Cell:
            Address2:
       City/St/Zip:SALT LAKE CITY UT 84104                                       Email:Tim.Grenz@allianceoneinc.com
 4DAD Physical Address
          Provider: VERIZON,                                             Manufacturer: ONTARIO SYSTEMS
          Serial No: D/480SC-2T1,D/240SC-T1                   FCC/ACTA Registration No:EMCUSA-77548-UM-E
         Company:ALLIANCEONE RECEIVABLES MANAGEMENT INC                           Main:(651) 255-2001
           Contact:ROY BUCHHOLZ                                              Toll-Free:
               Title:                                                              Fax:
            Addressl:4850 STREET ROAD                                             Cell:
        Address2:SUITE 300
       City/St/Zip:TREVOSE PA 19053                                              Emaii:Tim.Grenz@allianceoneinc.com
  DAD Physical Address


Public Utility Commission of Texas                                                                                                Page 2 / 3
              Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17                                                                           PageID.43              Page 43 of 56




                Provider: VERIZON                                                                                     Manufacturer: ONTARIO SYSTEMS
               Serial No: D/480SC-2T1, D/240SC-TI                                                            FCC/ACTA Registration No:ENCUSA-3315-CN-E
               Company:** COPY RECORD ** ALLiANCEONE RECEIVABLES MANAGEMENT INC                                                  Main:(651) 255-2001
                Contact: ROY BUCHHOLZ                                                                                      Toll-Free:
                    Title:                                                                                                        Fax:(800) 501-4743
               Address1:4850 STREET ROAD                                                                                          Cell:
               Address2.SUITE 300                                                                                                                                                           ^
             City/St/Zip:TREVOSE PA 19053                                                                                        Email:Tim.Grenz@allianceoneinc.com
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                        Comments:
                             Name: Tim Casey
                              Title: President and CEO
                       Affirm Date:7/21/2016 10:11:47 AM
                             Status: EDIT
 By submitting this report, I swear and affirm that all statements and representations submitted herein are true and correct to the best of my
 knowledge.




Public Utility Commission of Texas
                                                                                                                                                                                           Page 3/ 3
Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17   PageID.44   Page 44 of 56




                      EXHIBIT 4
Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17       PageID.45   Page 45 of 56



                        CALL DATE/TIME SUMMARY
                         Call No.   Date & Time of Call
                            1         9/19/14 4:05 PM
                            2         6/23/15 6:31 PM
                            3        6/24/15 11:48 AM
                            4         6/25/15 2:41 PM
                            5         6/26/15 8:19 PM
                            6         6/27/15 9:27 AM
                            7         7/6/15 12:46 PM
                            8          7/6/15 6:34 PM
                            9          7/7/15 1:36 PM
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                           14          7/9/15 8:47 AM
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                           20        7/10/15 11:53 AM
                           21         7/10/15 1:12 PM
                           22         7/11/15 9:34 AM
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                           29        7/13/15 10:48 AM
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Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17    PageID.46   Page 46 of 56



                            38       7/15/15 7:56 PM
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                            43      7/17/15 8:45 AM
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                            59      7/22/15 9:25 AM
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                            65      7/23/15 12:17 PM
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                            68       7/23/15 5:00 PM
                            69      7/24/15 9:44 AM
                            70       7/24/15 1:01 PM
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                            73       7/24/15 6:05 PM
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Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17    PageID.47   Page 47 of 56



                            77       7/26/15 4:21 PM
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                            81      7/27/15 11:35 AM
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                            93      7/29/15 11:58 AM
                            94       7/29/15 1:36 PM
                            95       7/29/15 2:20 PM
                            96       7/29/15 8:33 PM
                            97       7/30/15 8:56 AM
                            98      7/30/15 12:06 PM
                            99       7/30/15 1:27 PM
                           100       7/30/15 2:32 PM
                           101       7/30/15 4:17 PM
                           102       7/30/15 7:24 PM
                           103       7/31/15 8:40 AM
                           104      7/31/15 12:30 PM
                           105       7/31/15 2:14 PM
                           106       7/31/15 4:10 PM
                           107       7/31/15 5:34 PM
                           108       7/31/15 7:40 PM
                           109        8/1/15 9:17 AM
                           110       8/1/15 12:30 PM
                           111        8/1/15 2:27 PM
                           112        8/1/15 4:10 PM
                           113        8/2/15 2:01 PM
                           114        8/2/15 3:41 PM
                           115        8/2/15 4:37 PM
Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17   PageID.48   Page 48 of 56



                           116       8/2/15 7:00 PM
                           117       8/2/15 7:52 PM
                           118       8/3/15 8:54 AM
                           119       8/3/15 1:45 PM
                           120       8/3/15 3:08 PM
                           121       8/3/15 3:57 PM
                           122       8/3/15 6:49 PM
                           123       8/3/15 7:59 PM
                           124       8/4/15 9:02 AM
                           125       8/4/15 1:33 PM
                           126       8/4/15 3:57 PM
                           127       8/4/15 5:08 PM
                           128       8/4/15 7:18 PM
                           129       8/5/15 8:44 AM
                           130      8/5/15 12:11 PM
                           131       8/5/15 2:36 PM
                           132       8/5/15 4:53 PM
                           133       8/5/15 6:29 PM
                           134       8/6/15 9:13 AM
                           135       8/6/15 1:20 PM
                           136       8/6/15 3:50 PM
                           137       8/6/15 6:50 PM
                           138       8/7/15 8:44 AM
                           139      8/7/15 11:40 AM
                           140       8/7/15 3:09 PM
                           141       8/7/15 4:15 PM
                           142       8/8/15 8:43 AM
                           143       8/8/15 1:09 PM
                           144       8/8/15 3:05 PM
                           145       8/8/15 3:52 PM
                           146       8/9/15 1:52 PM
                           147       8/9/15 3:05 PM
                           148       8/9/15 4:13 PM
                           149       8/9/15 7:45 PM
                           150       8/9/15 8:37 PM
                           151      8/10/15 8:58 AM
                           152      8/10/15 1:14 PM
                           153      8/10/15 3:52 PM
                           154      8/10/15 5:56 AM
Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17    PageID.49   Page 49 of 56



                           155       8/10/15 7:36 PM
                           156       8/11/15 8:47 AM
                           157      8/11/15 11:56 AM
                           158       8/11/15 2:19 AM
                           159       8/11/15 4:29 AM
                           160       8/12/15 9:08 AM
                           161      8/12/15 11:58 AM
                           162       8/12/15 1:29 PM
                           163       8/12/15 4:50 PM
                           164       8/12/15 6:50 PM
                           165       8/13/15 9:06 AM
                           166      8/13/15 12:15 PM
                           167       8/13/15 3:26 PM
                           168       8/13/15 4:23 PM
                           169       8/14/15 9:07 AM
                           170      8/14/15 12:56 PM
                           171       8/14/15 3:11 PM
                           172       8/14/15 4:37 PM
                           173       8/14/15 7:42 PM
                           174       8/15/15 9:16 AM
                           175       8/15/15 2:34 PM
                           176       8/16/15 4:24 PM
                           177       8/17/15 9:00 AM
                           178       8/17/15 1:05 PM
                           179       8/17/15 2:20 PM
                           180       8/17/15 7:04 PM
                           181       8/18/15 9:00 AM
                           182      8/18/15 12:16 PM
                           183       8/18/15 3:45 PM
                           184       8/18/15 5:53 PM
                           185       8/18/15 7:51 PM
                           186       8/19/15 9:00 AM
                           187       8/19/15 1:34 PM
                           188       8/19/15 3:31 PM
                           189       8/19/15 4:09 PM
                           190       8/19/15 5:57 PM
                           191       8/20/15 9:09 AM
                           192      8/20/15 12:50 PM
                           193       8/20/15 3:02 PM
Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17    PageID.50   Page 50 of 56



                           194       8/20/15 5:23 PM
                           195       8/21/15 8:47 AM
                           196      8/21/15 12:27 PM
                           197       8/21/15 1:38 PM
                           198       8/21/15 8:39 PM
                           199       8/22/15 3:06 PM
                           200       8/22/15 4:51 PM
                           201       8/23/15 2:41 PM
                           202       8/23/15 5:10 PM
                           203      8/24/15 10:44 AM
                           204      8/24/15 12:37 PM
                           205       8/24/15 2:46 PM
                           206       8/24/15 5:42 PM
                           207       8/25/15 8:57 AM
                           208      8/25/15 12:35 PM
                           209       8/25/15 3:31 PM
                           210       8/25/15 5:48 PM
                           211       8/26/15 8:59 AM
                           212      8/26/15 12:35 PM
                           213       8/26/15 2:23 PM
                           214       8/26/15 5:30 PM
                           215       8/27/15 9:02 AM
                           216      8/27/15 12:25 PM
                           217       8/27/15 3:13 PM
                           218       8/27/15 5:57 PM
                           219       8/28/15 8:51 AM
                           220      8/28/15 12:30 PM
                           221       8/28/15 3:39 PM
                           222       8/28/15 6:47 PM
                           223       8/29/15 9:56 AM
                           224       8/30/15 2:47 PM
                           225       8/30/15 5:58 PM
                           226       8/31/15 8:56 AM
                           227      8/31/15 12:17 PM
                           228       8/31/15 2:16 PM
                           229       8/31/15 6:46 PM
                           230       9/1/15 12:10 PM
                           231        9/1/15 2:08 PM
                           232        9/1/15 3:43 PM
Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17    PageID.51   Page 51 of 56



                           233        9/1/15 5:05 PM
                           234        9/1/15 8:40 PM
                           235       9/2/15 9:09 AM
                           236        9/2/15 1:20 PM
                           237        9/2/15 3:04 PM
                           238        9/2/15 3:56 PM
                           239       9/3/15 9:44 AM
                           240        9/3/15 1:37 PM
                           241        9/3/15 4:06 PM
                           242        9/3/15 6:28 PM
                           243        9/4/15 2:34 PM
                           244        9/4/15 5:49 PM
                           245       9/5/15 12:27 PM
                           246        9/5/15 3:40 PM
                           247        9/6/15 3:08 PM
                           248        9/6/15 7:11 PM
                           249       9/7/15 9:21 AM
                           250       9/7/15 12:25 PM
                           251        9/7/15 2:42 PM
                           252        9/7/15 4:26 PM
                           253        9/7/15 7:43 PM
                           254       9/8/15 9:40 AM
                           255        9/8/15 1:02 PM
                           256        9/8/15 3:40 PM
                           257        9/8/15 5:17 PM
                           258       9/9/15 9:18 AM
                           259       9/9/15 12:14 PM
                           260        9/9/15 3:13 PM
                           261        9/9/15 5:17 PM
                           262      9/10/15 9:54 AM
                           263       9/10/15 2:17 PM
                           264       9/10/15 4:22 PM
                           265       9/10/15 6:26 PM
                           266      9/11/15 9:32 AM
                           267      9/11/15 12:49 PM
                           268       9/11/15 4:08 PM
                           269      9/12/15 8:57 AM
                           270       9/12/15 2:20 PM
                           271       9/13/15 3:44 PM
Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17    PageID.52   Page 52 of 56



                           272       9/13/15 7:47 PM
                           273      9/14/15 10:18 AM
                           274       9/14/15 4:29 PM
                           275       9/14/15 7:46 PM
                           276       9/15/15 9:28 AM
                           277      9/15/15 12:33 PM
                           278       9/15/15 2:48 PM
                           279       9/15/15 4:30 PM
                           280       9/15/15 7:36 PM
                           281       9/16/15 8:45 AM
                           282      9/16/15 12:58 PM
                           283       9/16/15 3:39 PM
                           284       9/16/15 5:44 PM
                           285       9/17/15 9:35 AM
                           286      9/17/15 12:49 PM
                           287       9/17/15 3:36 PM
                           288       9/17/15 5:16 PM
                           289       9/17/15 7:58 PM
                           290       9/18/15 9:15 AM
                           291      9/18/15 12:16 PM
                           292       9/18/15 3:12 PM
                           293       9/18/15 5:56 PM
                           294       9/19/15 9:05 AM
                           295       9/19/15 1:50 PM
                           296       9/20/15 2:46 PM
                           297       9/20/15 6:30 PM
                           298       9/21/15 9:54 AM
                           299      9/21/15 12:58 PM
                           300       9/22/15 9:21 AM
                           301      9/22/15 12:42 PM
                           302       9/22/15 3:29 PM
                           303      9/23/15 10:10 AM
                           304       9/23/15 2:18 PM
                           305       9/23/15 8:00 PM
                           306      9/24/15 10:24 AM
                           307      9/24/15 12:23 PM
                           308       9/24/15 4:08 PM
                           309       9/24/15 5:16 PM
                           310       9/25/15 9:53 AM
Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17    PageID.53   Page 53 of 56



                           311       9/25/15 2:28 PM
                           312       9/25/15 5:34 PM
                           313       9/25/15 6:19 PM
                           314       9/26/15 9:29 AM
                           315       9/26/15 2:03 PM
                           316       9/27/15 7:13 PM
                           317      9/28/15 11:29 AM
                           318       9/28/15 3:48 PM
                           319       9/28/15 5:15 PM
                           320       9/28/15 6:58 PM
                           321       9/29/15 9:31 AM
                           322      9/29/15 12:29 PM
                           323       9/29/15 4:12 PM
                           324       9/29/15 5:31 PM
                           325       9/30/15 9:15 AM
                           326      9/30/15 12:47 PM
                           327       9/30/15 3:15 PM
                           328       9/30/15 4:39 PM
                           329       9/30/15 8:06 PM
                           330      10/1/15 10:08 AM
                           331      10/1/15 12:24 PM
                           332       10/1/15 3:41 PM
                           333       10/1/15 4:37 PM
                           334      10/2/15 10:22 AM
                           335       10/2/15 1:30 PM
                           336      10/3/15 10:23 AM
                           337       10/3/15 3:19 PM
                           338       10/4/15 3:20 PM
                           339       10/4/15 7:04 PM
                           340      10/5/15 11:00 AM
                           341       10/5/15 2:52 PM
                           342       10/5/15 6:20 PM
                           343       10/5/15 7:55 PM
                           344       10/6/15 9:57 AM
                           345       10/6/15 3:02 PM
                           346       10/6/15 5:14 PM
                           347       10/7/15 9:23 AM
                           348       10/7/15 1:21 PM
                           349       10/7/15 4:52 PM
Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17    PageID.54   Page 54 of 56



                           350       10/7/15 6:42 PM
                           351       10/8/15 9:48 AM
                           352       10/8/15 1:07 PM
                           353       10/8/15 3:41 PM
                           354      10/9/15 10:02 AM
                           355      10/9/15 12:06 PM
                           356       10/9/15 3:17 PM
                           357       10/9/15 4:39 PM
                           358       10/9/15 6:16 PM
                           359      10/10/15 9:35 AM
                           360      10/10/15 2:17 PM
                           361      10/11/15 3:20 PM
                           362      10/11/15 6:37 PM
                           363     10/12/15 10:11 AM
                           364      10/12/15 1:53 PM
                           365      10/12/15 4:43 PM
                           366      10/12/15 6:43 PM
                           367      10/13/15 9:35 AM
                           368      10/13/15 1:00 PM
                           369      10/13/15 3:22 PM
                           370      10/13/15 4:45 PM
                           371      10/14/15 9:37 AM
                           372      10/14/15 1:48 PM
                           373      10/14/15 5:24 PM
                           374      10/14/15 6:28 PM
                           375      10/15/15 9:36 AM
                           376      10/15/15 3:02 PM
                           377      10/15/15 4:56 PM
                           378      10/16/15 9:40 AM
                           379      10/16/15 2:39 PM
                           380      10/16/15 4:50 PM
                           381      10/16/15 5:57 PM
                           382     10/17/15 10:13 AM
                           383      10/17/15 2:29 PM
                           384      10/18/15 4:44 PM
                           385     10/19/15 10:22 AM
                           386     10/19/15 12:44 PM
                           387      10/19/15 4:21 PM
                           388      10/19/15 5:42 PM
Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17    PageID.55   Page 55 of 56



                           389      10/20/15 9:23 AM
                           390     10/20/15 12:26 PM
                           391      10/20/15 2:37 PM
                           392      10/20/15 3:40 PM
                           393      10/20/15 6:47 PM
                           394      10/21/15 9:48 AM
                           395      10/21/15 1:53 PM
                           396      10/21/15 3:40 PM
                           397      10/21/15 6:16 PM
                           398      10/22/15 9:42 AM
                           399     10/22/15 12:02 PM
                           400      10/22/15 1:26 PM
                           401      10/22/15 5:19 PM
                           402     10/23/15 10:18 AM
                           403     10/23/15 12:47 PM
                           404      10/23/15 3:52 PM
                           405      10/23/15 5:48 PM
                           406      10/24/15 2:49 PM
                           407      10/25/15 4:47 PM
                           408     10/26/15 10:13 AM
                           409      10/27/15 9:26 AM
                           410      10/27/15 6:58 PM
                           411      10/28/15 9:36 AM
                           412      10/28/15 5:10 PM
                           413      10/29/15 9:14 AM
                           414      10/29/15 7:46 PM
                           415      10/30/15 9:18 AM
                           416      10/30/15 5:03 PM
                           417      10/30/15 7:35 PM
                           418       11/1/15 5:42 PM
                           419       11/2/15 8:47 AM
                           420       11/2/15 6:58 PM
                           421      11/3/15 10:16 AM
                           422       11/4/15 9:38 AM
                           423       11/5/15 9:18 AM
                           424       11/6/15 9:42 AM
                           425      11/7/15 11:58 AM
                           426       11/8/15 7:48 PM
                           427       11/9/15 9:40 AM
Case 2:17-cv-12151-MAG-DRG ECF No. 1 filed 06/30/17    PageID.56   Page 56 of 56



                           428     11/12/15 9:03 AM
                           429      11/12/15 3:35 PM
                           430      11/13/15 4:12 PM
                           431      11/14/15 3:45 PM
                           432      11/16/15 3:23 PM
                           433     11/17/15 12:28 PM
                           434      11/17/15 3:18 PM
                           435     11/18/15 8:55 AM
                           436      11/19/15 3:06 PM
                           437     11/20/15 9:00 AM
                           438      11/20/15 5:24 PM
